                     UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                   Plaintiff,
      v.                                                  Case No. 06-CR-40-005

TROLLEY METCALF, JR.,

                   Defendant.


                                     ORDER

      On December 15, 2006, this court sentenced Trolley Metcalf, Jr. to 58 months'

imprisonment for violations of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(A) and 846. This

sentence was imposed on the basis of Metcalf's total offense level – 29, and a

criminal history score of 1, which taken together called for a guideline sentence of

87-108 months before giving consideration to the government’s 5K1.1 motion.

Although charged with offenses involving both crack and powder cocaine, in this

instance the defendant's total offense level was calculated solely on the basis of

relevant conduct that involved powder cocaine.

      On November 1, 2007, the United States Sentencing Commission amended

the advisory federal sentencing guidelines for criminal offense involving crack

cocaine. On December 11, 2007, the Sentencing Commission further decided that,

effective March 3, 2008, these amended guidelines would apply retroactively to all

offenders who were sentenced under the previous versions of the sentencing

guidelines and who are presently incarcerated. The practical effect of these


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amendments is that, pursuant to the provisions of 18 U.S.C. § 3582(c)(2),

defendants previously convicted of offenses involving crack cocaine may be eligible

for a reduction in their sentence.

      On September 19, 2008, Metcalf filed a pro se motion to reduce his sentence

pursuant to § 3582(c)(2). Having considered Metcalf's motion, together with an

analysis from the United States Probation Office, and input from the United States

Attorney's Office, the court concludes that his motion must be denied. Under the

amended guidelines, Metcalf’s offense level and sentencing guideline range remain

the same. As earlier noted, Metcalf stands convicted for drug offenses involving

powder and crack cocaine; however, his guideline range was calculated solely upon

the weight of powder cocaine, which is not a drug affected by the Sentencing

Commission's amendments. Therefore, the court finds no factual or legal basis to

reduce the sentence of 58 months' imprisonment imposed on December 15, 2006.

      Accordingly,

      IT IS ORDERED that Metcalf's motion to reduce (Docket #244) be and the

same is hereby DENIED.

      Dated at Milwaukee, W isconsin, this 29th day of October, 2008.

                                              BY THE COURT:




                                              J.P. Stadtmueller
                                              U.S. District Judge



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